         Case 3:17-cv-00272-KGB Document 132 Filed 10/27/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 NORTHERN DIVISION

CLEO WATKINS, et al.                                                                      PLAINTIFF

v.                                 Case No. 3:17-cv-00272 KGB

LAWRENCE COUNTY, ARKANSAS, et al.                                                     DEFENDANTS

                                               ORDER

        Julie DeWoody Greathouse, James D. Rankin, III, Kimberly Logue, and M. Christine

Dillard, counsel for plaintiffs, are hereby authorized to bring a cell phone, laptop computer, or

personal digital assistant into the courthouse in Jonesboro, Arkansas, on Monday, November 15,

2021, for a jury trial in this matter, and continuing each day thereafter until the jury trial concludes,

subject to the following rules:

        (a)     This Order grants permission for those individuals identified in this Order to bring

                a cell phone, laptop computer, or personal digital assistant into the courthouse for

                their personal use, not to bring in such devices possessed by or for use by other

                individuals not identified in this Order.

        (b)     The devices mentioned above may not be used to record, photograph, or film

                anyone or anything inside the courthouse.

        (c)     Cell phones must be turned off and put away when in the courtroom.

        (d)     Wireless internet components of electronic devices must be deactivated when in

                district courtrooms.

        (e)     Before persons with electronic devices are granted entry into the courthouse, all

                devices must be examined by the United States Marshals Service or Court Security

                Personnel. This examination includes, but is not limited to placing the device
        Case 3:17-cv-00272-KGB Document 132 Filed 10/27/21 Page 2 of 2




               through electronic screening machines and requiring the person possessing the

               device to turn the power to the device off and on.

       (f)     The United States Marshals Service may further restrict electronic devices from

               entering the building should a threat assessment so dictate.

       A violation of paragraph (a), (b), (c), or (d) may result in seizure of the electronic device,

withdrawal of the privilege to bring an electronic device into the courthouse, or other sanctions.

A violation of the prohibition on recording, photographing, or filming anyone or anything inside

the courthouse may be punished as contempt of court.

       It is so dated this the 27th day of October, 2021.


                                                      ________________________
                                                      Kristine G. Baker
                                                      United States District Judge




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